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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                            AMARILLO DIVISION

 ALLIANCE FOR HIPPOCRATIC MEDICINE,
 on behalf of itself, its member organizations,
 their members, and these members’ patients, et
 al.,

               Plaintiffs,
                                                  Civil Action No. 2:22-cv-00223-Z
                  v.

 U.S. FOOD AND DRUG ADMINISTRATION,
 et al.,

               Defendants.


    BRIEF OF AMICI CURIAE MEDICAL AND PUBLIC HEALTH SOCIETIES
               IN OPPOSITION TO PLAINTIFFS’ MOTION
                   FOR A PRELIMINARY INJUNCTION
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  I.     INTERESTS OF AMICI CURIAE

         Amici curiae are leading medical and public health societies representing

  physicians, clinicians, and public health professionals who serve patients in Texas and

  nationwide. Among other organizations, they include the American College of

  Obstetricians and Gynecologists (“ACOG”), the nation’s leading organization of

  physicians who provide health services unique to people seeking obstetric or gynecologic

  care; the American Medical Association (“AMA”), the largest professional association of

  physicians, residents, and medical students in the country; and the Society for Maternal-

  Fetal Medicine (“SMFM”), the professional society for maternal-fetal medicine

  subspecialists, who are obstetricians with additional training in high-risk pregnancies.

         Amici also include the American Academy of Family Physicians (“AAFP”), one

  of the largest national medical organizations representing nearly 128,000 family

  physicians and medical students; the American Gynecological & Obstetrical Society

  (“AGOS”), comprised of prominent scholars in obstetrics, gynecology, and women’s

  health; the American Society for Reproductive Medicine (“ASRM”), a professional

  organization with over 8,000 members dedicated to the advancement of the science and

  practice of reproductive medicine. Its members include approximately 8,000

  professionals; the Council of University Chairs of Obstetrics and Gynecology

  (“CUCOG”), which promotes excellence in medical education in Obstetrics and

  Gynecology through leadership development and more; the North American Society for

  Pediatric and Adolescent Gynecology (“NASPAG”), which provides multidisciplinary

  leadership in education, research, and gynecologic care to improve the reproductive




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  health of youths; the National Association of Nurse Practitioners in Women’s Health

  (“NPWH”), a professional community of over 12,500 clinicians who provide women’s

  health and gender-related care; the Society of Family Planning (“SFP”), which represents

  more than 1,400 clinicians, scholars, and other individuals seeking to advance the science

  and clinical care of family planning; the Society of Gynecologic Oncology (“SGO”),

  which, among other things, collaborates with domestic and international organizations to

  advance women’s cancer care; and the Society for OB/GYN Hospitalists (“SOGH”), a

  growing group of physicians and others in the healthcare field who support a “hospitalist”

  model for OB/GYN care.1

         Ensuring access to evidence-based health care and promoting healthcare policy

  that improves patient health are central to amici’s missions.     Amici believe that all

  patients are entitled to prompt, complete, and unbiased health care that is medically and

  scientifically sound. Amici submit this brief to explain that mifepristone is exceedingly

  safe and effective and the Food and Drug Administration’s (“FDA”) approval of

  mifepristone was and continues to be based on sound medical science.

         Amici’s ability to safely and effectively care for patients requires access to

  mifepristone, which has undergone rigorous testing and review and has been approved

  for use in the United States for over twenty years. Accordingly, amici have a strong

  interest in ensuring that the science surrounding mifepristone’s safety and efficacy is

  correctly understood.


  1
      The identities and interests of each amicus are explained in more detail in amici’s
      accompanying Motion for Leave.




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  II.    PRELIMINARY STATEMENT

         In this lawsuit, Plaintiffs have taken a position that is fundamentally ideological,

  not scientific. They seek to end the practice of medication abortion using mifepristone,

  encouraging the Court to upend the expert judgment of the FDA and overturn a twenty-

  three-year-old approval. Their request is not based on rigorous scientific review and

  analysis but on speculation and the personal opinions of two physicians. As leading

  medical and public health societies in the fields most impacted by the present dispute,

  amici seek to center this dispute where it belongs—on the scientific evidence developed

  over more than two decades of study.

         Medication abortion including mifepristone is safe and effective. This is not an

  opinion—it is a fact based on hundreds of medical studies and vast amounts of data

  amassed over the course of two decades. The FDA based its initial approval on robust

  evidence which showed mifepristone was extremely safe. And the evidence collected

  and studies performed since that decision in 2000 have only served to confirm this.

  Serious side effects occur in less than 1% of patients, and major adverse events—

  significant infection, blood loss, or hospitalization—occur in less than 0.3% of patients.

  The risk of death is almost non-existent.

         Mifepristone is also recommended for the safe and effective treatment of

  miscarriage, which can be dangerous if left untreated. Indeed, in some cases, miscarraige

  can be life threatening. Recent research has shown that prescribed mifepristone, in

  conjunction with misoprostol, improves safety outcomes for patients experiencing

  pregnancy loss.




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         Plaintiffs also do not (and cannot) provide any evidence that mifepristone has any

  negative psychological impact on patients. In fact, the vast majority of patients report

  being happy with their decision to have an abortion. Medication abortion also offers

  advantages over procedural abortion, as it is less invasive and far more accessible,

  particularly to underserved patient populations.     Again, Plaintiffs offer no scientific

  evidence to support any of their claims about mifepristone’s safety (or purported lack

  thereof).

         Plaintiffs’ claim that mifepristone somehow increases the burden on our

  healthcare system is upside down. Medication abortion actively reduces any burden, as

  patients are able to take mifepristone at home following consultation with their healthcare

  provider.   The suggestion that complications are so frequent as to burden medical

  providers has no evidentiary basis.      To the contrary, because mifepristone has a

  significant (and growing) number of uses beyond medication abortion and is used as an

  effective treatment for miscarriage and other pregnancy-related conditions, enjoining its

  use would increase the burden on patients, clinicians, and the healthcare system as a

  whole by eliminating an established and effective form of care.

         Reversing the FDA’s approval of mifepristone, in whole or in any part, would

  cause profound and irreparable harm to patients across the country. This harm will be

  most severe for people of color and low-income patients who have higher rates of

  maternal mortality and morbidity and less access to alternative procedures (i.e.,

  procedural abortion). In short, the Court should reject Plaintiffs’ attempt to overturn




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  scientific judgment in a manner contrary to medical evidence and deny their request for a

  preliminary injunction.


  III.      Mifepristone and Medication Abortion Are Safe and Effective.

            The most common method of medication abortion in the United States refers to a

  two-drug regimen where mifepristone is used in conjunction with misoprostol to end an

  early pregnancy by emptying the contents of the uterus. 2 Mifepristone followed by

  misoprostol is used both to induce abortion,3 and in the treatment of miscarriage or early

  pregnancy loss (which can be life threatening), 4 a term which includes spontaneous

  abortion, missed abortion, incomplete abortion, or inevitable abortion.



  2
         Combined mifepristone–misoprostol regimens are the preferred therapy for
         medication abortion because they are more effective than misoprostol-only regimens.
         ACOG Practice Bulletin No. 225, Medication Abortion Up to 70 Days of Gestation,
         1, 4 (Oct. 2020) (“ACOG Practice Bulletin No. 225”).
  3
         “Many factors influence or necessitate an individual’s decision to have an abortion.
         They include but are not limited to contraceptive failure, barriers to contraceptive use
         and access, rape, incest, intimate partner violence, fetal anomalies, and exposure to
         teratogenic medications. Additionally, pregnancy complications such as placental
         abruption, bleeding from placenta previa, preeclampsia or eclampsia,
         chorioamnionitis, and cardiac or renal conditions may be so severe that an abortion is
         the only measure to preserve a patient’s health or save their life.” ACOG Committee
         Opinion No. 815, Increasing Access to Abortion, e107, e108 (Dec. 2020) (“ACOG
         Committee Opinion 815”).
  4
         ACOG Practice Bulletin No. 200, Early Pregnancy Loss, e197, e203 (Nov. 2018,
         reaff’d 2021) (“ACOG Practice Bulletin No. 200”); Amy Steigerwald, Northwest
         Ohio Mom Speaks Out About Abortion Care After Second Miscarriage, WTOL 11:
         TOLEDO NEWS (Sept. 7, 2022), https://www.wtol.com/article/news/health/toledo-
         area-mom-speaks-about-access-to-abortion-care-after-second-miscarriage/512-
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         Westwood, Bleeding and in Pain, She Couldn't Get 2 Louisiana ERs to Answer: Is it
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         The scientific evidence supporting mifepristone’s safety and efficacy is

  overwhelming. Mifepristone is one of the most studied medications prescribed in the

  United States and has a safety profile comparable to ibuprofen. Hundreds of studies and

  more than two decades of medical practice show that: (1) mifepristone is safe and

  effective; (2) medication abortion offers specific benefits compared with other abortion

  methods for some patients; and (3) additional safeguards around mifepristone’s use are

  medically unnecessary. Plaintiffs point to no sound scientific evidence to support their

  arguments, relying instead on anecdotes, unsupported theories, and speculation.

         A.      Mifepristone Has Been Thoroughly Studied and Is Conclusively Safe.

         Decades of evidence demonstrate that medication abortion is safe and effective,

  with exceptionally low rates of major adverse events. Mifepristone’s safety profile is on

  par with common painkillers like ibuprofen and acetaminophen, which more than 30

  million Americans take in any given day.5

         After rigorous testing, the FDA first approved the use of mifepristone over 20

  years ago in 2000—a decision based on extensive clinical trials and sound research.6

  This included an independent and unbiased review of the manufacturer’s preclinical

  research and clinical test results to ensure that mifepristone was safe and effective, and


      shots/2022/12/29/1143823727/bleeding-and-in-pain-she-couldnt-get-2-louisiana-ers-
      to-answer-is-it-a-miscarria. See also Oriana Gonzalez & Ashley Gold, Abortion Pill
      Demand Soaring Following Roe's Demise, AXIOS (July 19, 2022),
      https://www.axios.com/2022/07/18/abortion-pills-mifepristone-misoprostol-demand.
  5
      See R. Morgan Griffin, Making the Decision on NSAIDs, WEBMD (Oct. 17 2005),
      https://www.webmd.com/arthritis/features/making-decision-on-nsaids.
  6
      See Compl. Ex. 24, Mot. for Prelim. Injunction App. 518 (“2000 FDA Approval”).




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  that the health benefits outweighed the known risks. 7 In revising its guidance on

  mifepristone use in 2016, the FDA’s safety analysis relied on 12 independent clinical

  studies conducted between 2005 and 2015, covering “well over 30,000 patients.”8 Those

  studies conclusively demonstrated that “serious adverse events . . . are rarely reported . . .

  with rates generally far below 1.0%.”9

         In the two decades since mifepristone’s approval, hundreds of additional studies

  have reaffirmed that medication abortions have been and continue to be safe. To date,

  mifepristone has been discussed in more than 780 medical reviews and used in more than

  630 published clinical trials—of which more than 420 were randomized controlled

  studies (the gold standard in research design). 10 At a high level, these studies have

  repeatedly concluded that even minor complications arising from medication abortion are

  extremely rare.11 As a result, medication abortion has been and continues to be very



  7
       Development & Approval Process | Drugs, U.S. FOOD & DRUG ADMINISTRATION
       (Aug. 08, 2008), https://www.fda.gov/drugs/development-approval-process-drugs
       (visited Jan. 30, 2023).
  8
       FDA Ctr. For Drug Eval. & Research, Medical Review, Application No.
       020687Orig1s020, 1, 50 (Mar. 29, 2016) (“2016 FDA Approval”),
       https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020MedR.
       pdf.
  9
       Id. at 56 (emphasis added).
  10
       Based on a review of PubMed, the National Institute of Health’s sponsored database
       of research studies.
  11
       Nat’l Acads. of Sci., Eng’g. & Med., The Safety and Quality of Abortion Care in the
       United States, WASHINGTON D.C. THE NAT’L ACADEMIES PRESS 45, 58 (2018)
       (“NASEM Report”), http://nap.edu/24950 (“These reported risks [of medication
       abortion, including via telemedicine] are both low and similar in magnitude to the
       reported risks of serious adverse effects of commonly used prescription and over-the-
       counter medications,” comparing the risks with those from non-steroid anti-




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  common today.12 As of 2020, medication abortions account for most abortions in the

  United States,13 while maintaining an exceptionally low rate of complications.

         Major adverse events—which include hospitalization and serious infection or

  bleeding—are “exceedingly rare,” occurring in approximately 0.3% of cases.14 Studies

  have shown an even smaller number, finding between 0.014% and 0.07% of patients




       inflammatories); id. at 79 (“The risks of medication abortion are similar in
       magnitude to the risks of taking commonly prescribed and over-the-counter
       medications such as antibiotics and NSAIDS.”); Beverly Winikoff, et al., Extending
       Outpatient Medical Abortion Services Through 70 Days of Gestational Age, 120 (5)
       OBSTET. GYNECOL. 1070, 1070-76 (2012); Dina Abbas et al., Outpatient Medical
       Abortion is Safe and Effective Through 70 Days Gestation, 92(3) CONTRACEPTION
       197, 197-99 (Sept. 2015).
  12
       Advancing New Standards in Reproductive Health (“ANSIRH”), Analysis of
       Medication Abortion Risk and the FDA Report: Mifepristone US Post-marketing
       Adverse Events Summary through 6/30/2021, UNIV. OF CAL., S.F. 1,1 (Nov. 2022),
       https://www.ansirh.org/research/brief/analysis-medication-abortion-risk-and-fda-
       report-mifepristone-us-post-marketing.
  13
       Rachel K. Jones et al, Medication Abortion Now Accounts for More Than Half of All
       US Abortions, GUTTMACHER INSTITUTE (Feb. 24, 2022, last updated Dec. 21, 2022),
       https://www.guttmacher.org/article/2022/02/medication-abortion-now-accounts-
       more-half-all-us-abortions.
  14
       2016 FDA Approval, supra n.8, at 56; see also Ushma D. Upadhyay, et al.,
       Incidence of Emergency Department Visits and Complications After Abortion,
       125(1) OBSTETRICS & GYNECOLOGY 175, 175-83 (Jan. 2015) (study of over 55,000
       abortions found a major complications rate of 0.23% – 0.31% for medication
       abortion; 0.16% for procedural abortion (i.e., abortion by aspiration); ANSIRH, U.S.
       Studies on Medication Abortion without In-Person Clinician Dispensing of
       Mifepristone,             UNIV.      OF        CAL.,      S.F.       (Oct.    2021),
       https://www.ansirh.org/research/brief/us-studies-medication-abortion-without-
       person-clinician-dispensing-mifepristone; Elizabeth G. Raymond et al., First-
       Trimester Medical Abortion with Mifepristone 200 mg and Misoprostol: A
       Systematic Review, 87 CONTRACEPTION 26, 30 (2013) (addressing rates at which
       major complication occur for medication abortion).




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  experience serious infection.15 The FDA has made clear that the same complications can

  be observed following a miscarriage, procedural abortion, or medication abortion—i.e.,

  any time the pregnant uterus is emptied—and that “[n]o causal relationship between the

  use of MIFEPREX and misoprostol and [infections and bleeding] has been established.”16

             The risk of death from medication abortion is near zero.17 A 2019 analysis of

  FDA data by the University of San Francisco Medical Center found only 13 deaths

  possibly or probably related to medication abortion, yielding an approximate mortality

  rate of 0.00035%.18 Even when including deaths that followed a medication abortion but

  did not appear to be related to mifepristone use, that number rises to only 0.00065%.19

  Indeed, there is a greater risk of complications or mortality for procedures like wisdom-

  tooth removal, cancer-screening, colonoscopy, plastic surgery, and the use of Viagra,




  15
       Id. at 53-54.
  16
       Mifeprex Prescribing Information, U.S. FOOD & DRUG ADMIN. 1, 2,5 (Mar. 2016)
       https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
  17
       See Katherine Kortsmit et al., Abortion Surveillance – United States, 2019,
       Morbidity & Mortality Weekly Report, 70(9) U.S. DEP’T OF HEALTH & HUMAN
       SERVS., CTRS. FOR DISEASE CONTROL AND PREVENTION 1, 29, tbl. 15 (Nov. 26, 2021)
       (finding mortality rate of 0.00041% to 0.00078% from 1978 to 2018); Suzanne Zane
       et al., Abortion-Related Mortality in the United States, 1998-2010, 126 OBSTET.
       GYNECOL. 258, 261 (Aug. 2015) (noting a mortality rate of approximately 0.0007%
       mortality rate for abortion).
  18
       ANSIRH, Analysis of Medication Abortion Risk and the FDA Report: Mifepristone
       U.S. Post-Marketing Adverse Events Summary through 12/31/2018, UNIV. OF CAL.,
       S.F.,               1,                 1-2                 (April                2019),
       https://www.ansirh.org/sites/default/files/publications/files/mifepristone_safety_4-
       23-2019.pdf.; see also 2016 FDA Approval, supra n.8, at 8, 47, 51.
  19
       Id.




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  than by any abortion method (medication or procedural).20 To illustrate, studies have

  shown Viagra to be associated with 4.9 deaths per 100,000 prescriptions,21 that death by

  colonoscopy occurs in about 0.03% of cases,22 and the “risk of death associated with

  childbirth [is] approximately 14 times higher” than the risk associated with an abortion.23

  Put simply, medication abortion is among the safest medical interventions in any

  category—related to pregnancy or not.

          Notwithstanding Plaintiffs’ inaccurate characterization of mifepristone as an

  “endocrine-disruptor,” their purported concerns that mifepristone will affect adolescents



  20
       ANSIRH, Safety of Abortion in the United States, UNIV. OF CAL., S.F. 1, 1-2 (Dec.
       1, 2014), https://www.ansirh.org/sites/default/files/publications/files/safetybrief12-
       14.pdf (complication rate for wisdom-tooth extraction is approximately 3.5x higher
       than abortions; complication for tonsillectomies is approximately 4x higher than
       abortions); ASGE        Standards of Practice Committee,          Complications of
       Colonoscopy, 74(4) AM. SOC’Y FOR GASTROINTESTINAL ENDOSCOPY 745, 745
       (2011) (“ASGE, Complications of Colonoscopy”) (33% of colonoscopies result in
       minor complications); Frederick M. Grazer & Rudolph H. de Jong, Fatal Outcomes
       from Liposuction: Census Survey of Cosmetic Surgeons, 105 PLASTIC &
       RECONSTRUCTIVE SURGERY 436, 441 (2000) (mortality rate from liposuction in late
       1990s was 20 deaths per 100,000 patients); Kortsmit, supra n.17, at 29, tbl. 15
       (mortality rate from legal induced abortion was between 0.52 and 0.63 per 100,000
       in late 1990s, dropping to 0.41 in the years 2013-2018).
  21
       Mike Mitka, Some Men Who Take Viagra Die—Why?, 283(5) JAMA NETWORK,
       590, 590–593 (Feb. 02, 2000).
  22
       ASGE, Complications of Colonoscopy, supra n.20, at 747.
  23
       Elizabeth G. Raymond & David A. Grimes, The Comparative Safety of Legal
       Induced Abortion and Childbirth in the United States, 119 OBSTET. GYNECOL. 215,
       216 (Feb. 2012) (“Raymond & Grimes”). Data from the Centers for Disease Control
       and Prevention indicates that the risk of death associated with childbirth is
       increasing. See Donna L. Hoyert, Maternal Mortality Rates in the United States,
       2020,          NCHS         HEALTH           E-STATS          (Feb.          2022),
       https://www.cdc.gov/nchs/data/hestat/maternal-mortality/2020/e-stat-maternal-
       mortality-rates-2022.pdf.




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  because it briefly blocks progesterone receptors in the uterus is completely unfounded.

  Adolescents who are pregnant have extremely high levels of progesterone compared with

  their non-pregnant counterparts. There is no reason to think, nor is there evidence to

  show, that preventing the absorption of progesterone for a brief window would have any

  effects on adolescent development.24

         Additionally, studies have shown that patients who seek an abortion, including

  medication abortion, do not suffer from emotional distress or negative mental-health

  outcomes, and experience better long-term outcomes than those who seek abortion care

  but are denied it. For instance, one recent long-term study found that women who obtain

  abortions had “similar or better mental health outcomes than those who were denied a

  wanted abortion.” 25 Another study observed that 95% of participants who received

  abortion care believed that doing so had been the “right decision for them” in the years


  24
       Maarit Niinimaki et al., Comparison of Rates of Adverse Events in Adolescent and
       Adult Women Undergoing Medical Abortion: Population Register Based Study,
       BJM, 1,1 (April 19, 2011) (“medical abortion seems to be at least as safe in
       adolescents as it is in adults”); see also Letter from Michael Munger, Board Chair,
       American Academy of Family Physicians to Norman Sharpless, Acting
       Commissioner, FDA (June 20, 2019), https://www.aafp.org/dam/AAFP/
       documents/advocacy/prevention/women/LT-FDA-MifepristoneREMS-062019.pdf.
  25
       M. Antonia Biggs et al., Women’s Mental Health and Well-being 5 Years After
       Receiving or Being Denied an Abortion: A Prospective, Longitudinal Cohort Study,
       74(2) JAMA PSYCHIATRY, 169, 177 (Feb. 2017); see also M. Antonia Biggs et al.,
       Does Abortion Increase Women’s Risk for Post-Traumatic Stress? Findings from a
       Prospective Longitudinal Cohort Study, 6(2) BMJ OPEN (2016); M. Antonia Biggs et
       al., Mental Health Diagnoses 3 Years After Receiving or Being Denied an Abortion
       in the United States, 105(12) AM. J. PUB. HEALTH 2557, 2557 (Dec. 2015); Diana G.
       Foster et al., A Comparison of Depression and Anxiety Symptom Trajectories
       Between Women Who Had an Abortion and Women Denied One, 45 PSYCHOL. MED.,
       1, 6 (July 2015).




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  that followed.26 Plaintiffs’ argument to the contrary—that patients frequently regret their

  medical decisions or go so far as to seek “reversal” treatment (discussed infra)—is

  contrary to the scientific evidence.

          Nor is it accurate to suggest that patients suffer emotionally because the FDA has

  created an “inaccurate and false safety profile” for mifepristone.27 Mifepristone’s safety

  has been evident for decades thanks to rigorous scientific study. And that risk profile has

  not changed since its approval, confirmed by ongoing and robust study, testing, and

  monitoring of market data.28


          B.     Medication Abortion Offers Comparative Benefits Against Other
                 Forms of Abortion or Miscarriage Management.

          Patients eligible for medication abortions also have the option to obtain a

  procedural abortion (sometimes referred to as a “surgical abortion,” though that it does

  not involve “surgery” as that term is generally understood). While both methods are

  exceedingly safe, medication abortion offers unique benefits over procedural abortion for

  some patients.     In amici’s experience, patients choose medication abortion over

  26
       Corrine H. Rocca et al., Decision Rightness and Emotional Responses to Abortion in
       the United States: A Longitudinal Study, 10 PLOS ONE 1, 7 (July 8, 2015); see also
       Corinne H. Rocca, et. al., Emotions and Decision Rightness over Five Years
       Following an Abortion: An Examination of Decision Difficulty and Abortion Stigma,
       SOC. SCI. & MED. (March 2020) (finding no evidence of negative emotions or
       decision regret among those surveyed and that the prevailing sentiment post-abortion
       was relief).
  27
       See Compl. ¶ 272.
  28
       See 2016 FDA Approval, supra n.8, at 8 (“FDA has received such reports for 15
       years, and it has determined that the safety profile of Mifeprex is well-characterized,
       that no new safety concerns have arisen in recent years, and that the known serious
       risks occur rarely.”).




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  procedural abortion for a variety of reasons, which can include a desire to avoid physical

  contact or the trauma of having instruments inserted into their vagina due to prior sexual

  assault or trauma; a desire to be able to have the abortion in the company of family or

  loved ones; or simply a desire for privacy. Patients experiencing miscarriage may choose

  to take mifepristone and misoprostol for the same reasons, rather than to opt for an in-

  clinic procedure for treatment.

         Additionally, medication abortion may be the only option that is reasonably

  accessible to patients, even in states that have chosen to keep abortion legal. This is

  especially true for patients from historically marginalized populations, those with low

  incomes, and patients living in rural areas or long distances from medical facilities.29

  Even when medical facilities are reasonably accessible to patients, a significant number

  that provide abortion care offer only medication abortion.30 For patients with certain

  medical conditions, disabilities, or other extenuating life circumstances (such as a lack of

  access child care, the inability to take time off work, or not being able to travel long

  distances), medication abortion is by far the safest and most accessible option.31 Given


  29
       See     March   of    Dimes,     Maternity     Care   Desert   (Oct.   2022),
       https://www.marchofdimes.org/peristats/data?reg=99&top=23&stop=641&lev=1&sl
       ev=4&obj=9&sreg=99&creg; Lyndsey S. Benson et al., Early Pregnancy Loss in the
       Emergency Department, 2 J. AM. C. EMERGENCY PHYSICIANS OPEN. (2021);
       Anthony Mazzeo et. al, Delivery of Emergency Care in Rural Settings, ACEP
       EMERGENCY MEDICINE PRAC. COMM. (July 2017).
  30
       See Rosalyn Schroeder et al, Trends in Abortion Care in the United States, 2017-
       2021, ANSIRH, UNIV. OF CAL. S.F. (2022).
  31
       Plaintiffs argue that medication abortion does not offer a meaningful benefit over
       procedural abortion because some patients require surgical intervention following
       medication abortion. But the need for surgical intervention following medication




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  the dearth of accessible health care in large portions of this country, the FDA’s recent

  decision to permanently remove the in-person dispensing requirement for mifepristone is

  critical to ensuring patient access to necessary and potentially life-saving medication

  abortion.


         C.      The FDA’s Recent Decisions Removing Restrictions on Mifepristone
                 Are Amply Supported by Evidence of Safety.

         Plaintiffs’ concerns regarding the supposed lack of “safeguards” with respect to

  mifepristone are contradicted by the evidence.         The FDA’s 2016 change to the

  mifepristone label was supported by substantial evidence, including a wide-ranging

  systemic review,32 a randomized control trial,33 and several observational studies,34 all of

  which demonstrated the safety and effectiveness of mifepristone up to the ten-week



       abortion is very rare. Patients face only a 2.1% chance of needing a follow-up
       intervention. See Luu Ireland et. al., Medical Compared with Surgical Abortion for
       Pregnancy Termination in the First Trimester, 126 OBSTET. GYNECOL., 22-28
       (2015).
  32
       See 2016 FDA Approval, supra n.8, at 16 (citing M.J. Chen & M.D. Creinin,
       Mifepristone with Buccal Misoprostol for Medical Abortion Obstet Gynecol: A
       Systematic Review, MNP26 OBSTET. GYNECOL. 12-21 (2015)).
  33
       See id. at 79 (citing C.D. Olavarrieta et al., Nurse Versus Physician Provision of
       Early Medical Abortion in Mexico: A Randomized Controlled Non-Inferiority Trial,
       93 BULL. WORLD HEALTH ORGAN. 249-58 (2015)).
  34
       See e.g., id. at 18 (citing Winikoff, supra n.11; A.A. Boersma et al., Mifepristone
       Followed by Home Administration of Buccal Misoprostol for Medical Abortion Up
       to 70 Days of Amenorrhoea in a General Practice in Curacao, 16 EUR. J.
       CONTRACEPT. REPROD. HEALTH CARE 61-66 (2011)); 2016 FDA Approval, supra
       n.8, at 35 (citing P. Sanhueza Smith et al., Safety, Efficacy and Acceptability of
       Outpatient Mifepristone-Misoprostol Medical Abortion Through 70 Days Since Last
       Menstrual Period in Public Sector Facilities in Mexico City, 22 REPROD. HEALTH
       MATTERS 75-82 (2015)).




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  gestational period.35 More recent studies have confirmed these results. For example, a

  2020 evidence review recognized yet again that medication abortion can safely and

  effectively be used up to at least 70 days of gestation.36     Plaintiffs cite no scientific

  support for their conclusion to the contrary, and instead rely entirely on the declarations

  of Drs. Jester and Wozniak—neither of which offers any meaningful analysis of

  gestational age with respect to mifepristone use.37

         Similarly, the FDA’s decision not to require an ultrasound was based on sound

  medicine. Simply put, it is medically unnecessary to perform an ultrasound for the vast

  majority of medication abortion patients, and clinicians, as a result of their medical

  expertise, are perfectly capable of ordering an ultrasound when that is, in their experience

  and judgment, advisable.38 Although an ultrasound can help determine gestational age


  35
       See E.V. Gouk, Medical Termination of Pregnancy at 63 to 83 Days Gestation, 106
       BR. J. OBSTET. GYNAECOL. 535-39 (1999); Boersma, supra n.34; B. Winikoff, supra
       n.11; Abbas, supra n.11.
  36
       See ACOG Practice Bulletin No. 225, supra n.2.
  37
       See Compl. ¶ 265 (citing Ex. 9, Wozniak Decl. ¶ 10; Ex. 52, Jester Decl. ¶ 17). The
       Jester declaration cited by Plaintiffs does not discuss gestational age beyond
       mentioning dissatisfaction with the FDA’s 2016 approval of mifepristone at later
       gestational age.
  38
       See Elizabeth Raymond et al., Simplified Medical Abortion Screening: A
       Demonstration Project, 97 CONTRACEPTION 292 (2018); see also Abigail R. Aiken et
       al., Effectiveness, Safety and Acceptability of No-Test Medical Abortion
       (Termination of Pregnancy) Provided via Telemedicine: A National Cohort Study,
       128 BJOG 1464, 1469 (2021); Holly A. Anger, Clinical and Service Delivery
       Implications of Omitting Ultrasound Before Medication Abortion Provided via
       Direct-to-Patient Telemedicine and Mail in the US, 104 CONTRACEPTION 679
       (2021); Erica Chong et al., Expansion of a Direct-to-Patient Telemedicine Abortion
       Service in the United States and Experience During the COVID-19 Pandemic, 104
       CONTRACEPTION 43, 46 (2021) (“Preabortion ultrasounds are usually unnecessary for
       safe and effective medication abortion.”).




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  and can identify an ectopic pregnancy, studies have shown that both of these goals can be

  accomplished just as effectively by discussing the patient’s medical history—even via a

  telemedicine appointment.39 As the FDA determined more than 20 years ago, the choice

  of whether to perform an ultrasound should be left to the provider’s reasonable judgment,

  on a case-by-case basis. 40 The “safeguards” promoted by Plaintiffs are medically

  unnecessary.

          Plaintiffs also express discontent with respect to the FDA’s decision to eliminate

  certain restrictions in 2016—for instance, its revision to the “adverse event reporting”

  mandate, which required physicians to report adverse events and injuries to the FDA

  under certain circumstances.41



  39
       See 2000 FDA Approval, supra n.6 (“In practice, dating pregnancies occurs through
       using other clinical methods, as well as through using ultrasound.”); Elizabeth
       Raymond & Hillary Bracken, Early Medical Abortion Without Prior Ultrasound, 92
       CONTRACEPTION 212, 214 (2015) (finding that gestational dating using last monthly
       period rather than ultrasound may be reasonable for selected patients before
       medication abortion); see also Ushma D. Upadhyay et al., Outcomes and Safety of
       History-Based Screening for Medication Abortion: A Retrospective Multicenter
       Cohort Study, 182 J. AM. MED. ASS’N INTERNAL MED. 482, 489 (2022) (finding that
       “if pregnancy duration can be reasonably estimated by history and if no symptoms or
       risk factors for ectopic pregnancy are present,” ultrasonography should not be
       required).
  40
       See id. (“The role of an ultrasound was carefully considered. In the clinical trial,
       ultrasound was performed to ensure proper data collection on gestational age. In
       practice, dating pregnancies occurs through using other clinical methods, as well as
       through using ultrasound. Ultrasound information can be provided to the prescribing
       physicians to guide treatment, but this information can be obtained through
       consultation referral from an ultrasound provider and does not necessarily need to be
       obtained by the prescriber him/herself. The labeling recommends ultrasound
       evaluation as needed, leaving it to the medical judgment of the physician.”).
  41
       See e.g., Compl. ¶¶ 250, 304; Pl.’s Br. Supp. Mot. Prelim. Inj. at 18-19.




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          In 2016, the FDA eliminated a requirement that providers report all adverse

  events relating to mifepristone to the FDA, noting that after 15 years of reporting, the

  safety profile for mifepristone was “well-characterized” and that “serious risks occur

  rarely.”42 On this basis, the FDA determined it was sufficient to continue requiring the

  reporting of patient deaths, but that information regarding any other “serious, unexpected

  adverse events” could be collected on a reduced basis through periodic reports.43 By the

  time this decision was made, mifepristone had been studied extensively for over 15 years

  and was proven to be safe time and again. Plaintiffs offer no support for their suggestion

  that eliminating the requirement was unsupported by the medical evidence, or resulted in

  any harm to patients or their providers.      Instead, Plaintiffs speculate, based on no

  evidence, that the lack of a more robust reporting requirement will harm the doctor-

  patient relationship.44 There is no justification to revisit the FDA’s reasoned decision

  now.


  42
       2016 FDA Approval, supra n.8, at 48-49.
  43
       See id. at 8.
  44
       For instance, Plaintiffs speculate that a “lack of accurate information on adverse
       events” will cause patients to mistrust their doctors. Compl. ¶ 309. But the FDA
       removed the reporting requirement because it was determined to be unnecessary
       upon review of more than 15 years of reporting data on mifepristone. Doctors had in
       2016, and continue to have now, all the information they need to make accurate
       assessments with respect to prescribing mifepristone to any given patient and to
       adequately inform patients about what to expect when taking the medication.
       Plaintiffs also speculate, without evidence, that doctors will face or have faced
       increased malpractice liability because mifepristone can be prescribed via telehealth
       and ingested at the patient’s home, thus increasing the likelihood of an emergent
       situation or serious side effects. As discussed above, medication abortion, whether
       taken at home or elsewhere, rarely results in any serious complications, let alone
       those requiring hospitalization or an emergency-room visit, and there is no evidence




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  IV.      Enjoining the Use of Mifepristone Will Harm Pregnant Patients and Have
           Severe Negative Impacts on the Broader Healthcare System.

           A.     Patients Will Suffer if Denied Access to a Safe and Effective
                  Treatment.

           Making mifepristone unavailable nationwide—even in states where abortion

  remains legal—will impose a severe, almost unimaginable cost on pregnant people

  throughout the United States.

           Abortion care can be lifesaving, especially for people suffering from serious

  health conditions or experiencing early pregnancy loss. Medication abortion’s relative

  availability makes it more accessible to patients who otherwise face challenges to access

  medical care, including low-income patients and patients of color45—the very people who

  are most likely to experience severe maternal morbidity and more likely to die from




        that malpractice liability rates have been affected by the accessibility of medication
        abortion.
  45
        See Christine Dehlendorf & Tracy Weitz, Access to Abortion Services: A Neglected
        Health Disparity, 22 J. HEALTH CARE FOR THE POOR & UNDERSERVED 415 (May
        2011) (“Poor and minority women experience both greater need for and reduced
        access to abortion services than their white and more affluent counterparts, and have
        negative health and social consequences as a result.”); Rachel K. Jones et al.,
        COVID-19 Abortion Bans and Their Implications for Public Health, PERSPECTIVES
        ON SEXUAL AND REPRODUCTIVE HEALTH (May 14, 2020) (“Nationally, three-quarters
        of abortion patients are poor or low income…black women and those with limited
        financial resources already face numerous economic and structural hurdles that delay
        access to abortion); Jenna Jerman et al., Characteristics of U.S. Abortion Patients in
        2014 and Changes Since 2008, GUTTMACHER INST. (May 2016)
        https://www.guttmacher.org/report/characteristics-us-abortion-patients-2014; Ctr. for
        Medicare & Medicaid Serv., CMS Rural Health Strategy at 2 (2018)
        https://www.cms.gov/About-CMS/Agency-Information/OMH/Downloads/Rural-
        Strategy-2018.pdf (“[R]ural Americans are more likely to be living in poverty,
        unhealthy, older, uninsured or underinsured, and medically underserved.”).




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  pregnancy-related complications. 46 Pregnant people of color are also more likely to

  experience early pregnancy loss or miscarriage, the treatment for which can include

  procedural or medication abortion.47 Enjoining the use of mifepristone would only harm

  these patients by removing a relatively accessible and entirely safe treatment from the

  marketplace—resulting in more people being denied requested abortion care.

         Indeed, there is substantial evidence that the denial of abortion care alone causes

  harm. Patients who are denied abortions experience an increase in violence from intimate

  partners compared with patients who were able to obtain an abortion. 48 Studies have

  repeatedly shown that being denied an abortion also exacerbated patients’ economic

  hardships, revealing “large and statistically significant differences in the socioeconomic

  trajectories of women who were denied requested abortions compared with women who

  received abortions—with women denied abortions facing more economic hardships.”49

         In arguing otherwise, Plaintiffs claim continuing a pregnancy is somehow a safer

  alternative, arguing that “pregnancy rarely leads to complications that threaten the life of




  46
       See Ctr. for Medicare & Medicaid Serv., Advancing Rural Maternal Health Equity at
       1 (May 2022), https://www.cms.gov/files/document/maternal-health-may-2022.pdf;
       see also Juanita Chinn, et al., Health Equity Among Black Women in the United
       States, 30 J. WOMEN’S HEALTH 212, 215 (2021).
  47
       See Benson, supra n.29.
  48
       See Sarah Roberts et al., Risk of Violence from the Man Involved in the Pregnancy
       After Receiving or Being Denied an Abortion, BMC MEDICINE (2014).
  49
       Diana Greene Foster et al., Socioeconomic Outcomes of Women Who Receive and
       Women Who Are Denied Wanted Abortions in the United States, 108 AM. J. PUB.
       HEALTH 407, 412 (2018).




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  the mother or the child.”50 This statement is not founded in scientific evidence. Instead,

  Plaintiffs cite a lone opinion piece and a study of post-abortion complications.

  Empirical evidence shows that women are at least 14 times more likely to die during

  childbirth than during any abortion procedure 51 and are at an increased risk of

  experiencing hemorrhage, infection, and injury to other organs during pregnancy and

  childbirth as well. 52 Even under the best of circumstances, pregnancy and childbirth

  impose significant physiological changes that can exacerbate underlying preexisting

  conditions and can severely compromise health, sometimes permanently.53 Pregnancy,

  particularly when coupled with a preexisting condition, can quickly evolve into a life-


  50
       See Compl. ¶ 51.
  51
       See Raymond & Grimes, supra n.23, at 216-17 & fig. 1. The U.S. mortality rate
       associated with live births from 1998 to 2005 was 8.8 deaths per 100,000 live births.
       Id. at 216. Rates have sharply increased since then. David Boulware, Recent
       Increases in the U.S. Maternal Mortality Rate: Disentangling Trends from
       Measurement Issues, 128 OBSTETRICS & GYNECOLOGY 447 (2016). By contrast, the
       mortality rate associated with abortions performed from 1998 to 2005 was 0.6 deaths
       per 100,000 procedures. Raymond & Grimes, supra n.23 at 216. A committee of the
       National Academies in a 2018 peer-reviewed, evidence-based report similarly
       concluded that abortion is safer than pregnancy; specifically, “the risk of death
       subsequent to a legal abortion (0.7 [deaths] per 100,000 [patients]) is a small fraction
       of that for childbirth (8.8 [death] per 100,000 [patients]).” Nat’l Acads. of Sci.,
       Eng’g. & Med., supra n.11 at 74.
  52
       Raymond & Grimes, supra n.23, at 215, 216–17 & fig.1.
  53
       See e.g., ACOG Practice Bulletin No. 190, Gestational Diabetes Mellitus (Feb.
       2018); ACOG Practice Bulletin No. 222, Gestational Hypertension and
       Preeclampsia (Dec. 2018); ACOG Practice Bulletin No. 183, Postpartum
       Hemorrhage (Oct. 2017); ACOG Obstetric Care Consensus, Placenta Accreta
       Spectrum (July 2012, reaff’d 2021); ACOG Practice Bulletin No. 198, Prevention
       and Management of Obstetric Lacerations at Vaginal Delivery (Sept. 2018, reaff’d
       2022); ACOG Clinical Consensus No. 1, Pharmacologic Stepwise Multimodal
       Approach for Postpartum Pain Management (Sept. 2021).




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  threatening situation necessitating critical care, including abortion. This phenomenon is

  particularly apparent in the United States, which has the highest maternal mortality rate

  among developed countries, with rates increasing the most for Black and Hispanic

  patients.54


          B.     Physicians and Hospitals Will Experience Significant Costs and
                 Burdens Without Any Medical Justification.

          Overturning mifepristone’s approval will, at a macro level, increase the burden on

  the nation’s healthcare system, particularly women’s health and OBGYN care.55 Should

  the use of mifepristone be proscribed or limited, medical facilities will experience an

  increased strain on already-limited resources.56 Medication abortion allows a patient to

  ingest their prescription safely at home after consultation with their healthcare providers,

  freeing clinicians and in-patient resources to focus on providing other needed medical

  care. The same is true of prior restrictions on mifepristone use that the FDA has now

  54
       Roosa Tikkanen et al., Maternal Mortality and Maternity Care in the United States
       Compared to 10 Other Developed Countries, THE COMMONWEALTH FUND (Nov. 18,
       2020),                     https://www.commonwealthfund.org/publications/issue-
       briefs/2020/nov/maternal-mortality-maternity-care-us-compared-10-countries.
  55
       Plaintiffs go so far as to claim that medication abortion is a driving factor in the
       “national blood supply shortage” due to the purportedly high number of patients who
       experience hemorrhaging or sepsis as a result. See Compl. ¶ 286. There is
       absolutely no evidence of this—as explained above, medication abortion is
       extremely safe and rarely results in complications requiring a blood transfusion.
  56
       See Alexander Janke, An Emergency in U.S. Emergency Care: Two Studies Show
       Rising Strain, U. MICH. INST. OF HEALTHCARE POL’Y & INNOVATION (Oct. 7, 2022),
       https://ihpi.umich.edu/news/emergency-us-emergency-care-two-studies-show-rising-
       strain; Steven Ross Johnson, Hospitals Face Strain as Respiratory ‘Tripledemic’
       Wanes,       US     NEWS      &    WORLD      REPORT     (Jan.     25,    2023),
       https://www.usnews.com/news/health-news/articles/2023-01-25/hospitals-face-
       strain-as-tripledemic-wanes.




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  lifted, like requiring patients to take the medication in front of a physician or making

  patients travel to a facility for a medically unnecessary follow-up appointment.

          Plaintiffs also suggest that medication abortion is a drain on in-patient resources

  because physicians must frequently counsel patients on “reversal” or regret.57 To start,

  there is no medical evidence or even sound medical theory to support the idea that a

  medication abortion can be “reversed.” 58 The reversal “treatment” described in the

  Complaint is the invention of one of the Plaintiffs—George Delgado. 59 The only

  randomized controlled study that has attempted to analyze Mr. Delgado’s “treatment”

  was stopped in the middle of the study for safety reasons after three out of the twelve

  participants were transported to the emergency room via ambulance after experiencing

  hemorrhages as a result of not following the established regimen.60 Indeed, this supposed

  “treatment” has not even been proven safe or effective in animal studies. Moreover, as

  noted   supra,   patients   who   obtain   abortions,   including   medication     abortion,

  overwhelmingly report satisfaction with their decision to obtain abortion care.



  57
       Pl.’s Br. Supp. Mot. Prelim. Inj., supra n.41 at 9 (speculating that doctors may need
       to divert resources to assist patients seeking to reverse medication abortion).
  58
       See, e.g., D. Grossman et al., Continuing Pregnancy After Mifepristone and
       ‘Reversal’ of First-Trimester Medical Abortion: A Systematic Review, 92
       CONTRACEPTION 206–211 (Jun. 2015).
  59
       Planned Parenthood of Tennessee & N. Mississippi v. Slatery, 523 F. Supp. 3d 985,
       991-92 (M.D. Tenn. 2021) (“The theory . . . that progesterone can ‘reverse’ the
       effects of mifepristone – is primarily based on two papers co-authored by Dr. George
       Delgado.”).
  60
       Mitchell Creinin, et al., Mifepristone Antagonization with Progesterone to Prevent
       Medical Abortion, A Randomized Controlled Trial, 135 Obstet. & Gynecol. 158, 158
       (2020).




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          C.     Mifepristone Has a Growing Range of Critical Uses Outside of
                 Medication Abortion.

          Mifepristone has many uses outside of medication abortion. Enjoining its use will

  cause irreparable harm to patients who are prescribed mifepristone by their physician to

  treat a range of conditions related to pregnancy and beyond. As with many medications,

  mifepristone has “off-label” 61 applications beyond abortion. Off-label drug use is a

  critically important tool in any clinician’s toolbox and is very common for treating

  certain conditions. 62 Mifepristone is already widely prescribed for management and

  treatment of miscarriages, including spontaneous, missed, inevitable, and incomplete

  abortions. 63 Studies have also examined its use for a range of other maternal-health

  purposes, including treatment of uterine fibroids (tumorous growths of uterine muscle)

  and treatment of endometriosis (abnormal tissue growth outside the uterus, which can

  cause severe pain and infertility). 64 Mifepristone is also used off-label to reduce the


  61
       Off Label Drug Use is defined as “prescribing currently available and marketed
       medications but for an indication (e.g., a disease or a symptom) that has never
       received Food and Drug Administration (FDA) approval.” Wittich et al., Ten
       Common Questions (and Their Answers) About Off-label Drug Use, 87(10) MAYO
       CLINIC PROC. 982, 982 (Oct. 2012). Off label use is extremely common, with
       approximately one in five prescriptions being written for off-label use. Id. at 983.
  62
       Id. at 982-90.
  63
       Mara Gordon & Sarah McMannon, A Drug that Eases Miscarriages is Difficult for
       Women to Get, NPR (Jan. 10, 2019), https://www.npr.org/sections/health-
       shots/2019/01/10/666957368/a-drug-that-eases-miscarriages-is-difficult-for-women-
       to-get.
  64
       Mario Tristan et al., Mifepristone for Uterine Fibroids, COCHRANE DATABASE SYST.
       REV. (Aug. 2012); Y. X. Zhang, Effect of Mifepristone in the Different Treatments of
       Endometriosis, Clin. and Exp. Obstetrics & Gynecology 350, 350-53 (2016); see
       also Neelofar Shaikh et al., Mifepristone in Fibroids: Comparative Study of Safety
       and Efficacy of Dosage Vs Daily Dosage Struggle, 12 J. MIDLIFE HEALTH 39 (2021).




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  duration of bleeding or hemorrhaging during certain serious pregnancy complications,

  and may have beneficial effects on the cervix in full-term pregnancies, which in turn may

  affect the likelihood of successful labor, as opposed to cesarean delivery.65 Outside of

  pregnancy and related conditions, mifepristone has been used as a treatment for certain

  patients with Cushing’s Syndrome and studied and considered for use in treating mood

  disorders and depression, alcohol use disorders, post-traumatic stress disorder, and even

  some types of brain tumors.66 Enjoining the use of mifepristone will have a significant

  impact on treatments entirely unrelated to pregnancy.


  V.     CONCLUSION

         For these reasons and those articulated in Defendant’s Brief, we strongly urge the

  Court to deny the relief sought in the Complaint.




  65
       See Yanxia Cao et al., Efficacy of Misopristol Combined with Mifepristone on
       Postpartum Hemorrhage and its Effects on Coagulation Function,13 INT. J. CLIN.
       EXP. MED. 2234, 2234-240 (2020); Shaikh, supra n.64, at 39-45; Zhang, supra n.64,
       at 350-53; Kanan Yelikar et al., Safety and Efficacy of Oral Mifepristone in Pre-
       Induction Cervical Ripening and Induction of Labour in Prolonged Pregnancy, 65 J.
       OBSTET. GYNAECOL. INDIA 221-25 (2015).
  66
       Scripps Research Inst., Mifepristone Treatment of Alcohol Use Disorder, NO.
       NCT02179749 CLINICALTRIALS.GOV (2022); Monserrat Llaguno-Munive et al.
       Mifepristone Repurposing in Treatment of High-Grade Gliomas, Front. Oncol.
       (2021); Farah H. Morgan & Marc J. Laufgraben, Mifepristone for Management of
       Cushing’s Syndrome, 33 PHARMACOTHERAPHY 319, 319-29 (2013); Peter Gallagher
       & Allan H. Young, Mifepristone (RU-486) Treatment for Depression and Psychosis:
       A Review of the Therapeutic Implications, 2 NEUROPSYCHIATRY DISEASE &
       TREATMENT 33, 33-42 (2006).




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    Dated: February 10, 2023               Respectfully submitted,

                                            /s/ Matt W. Sherwood

                                            Shannon Rose Selden (pro hac vice pending)
                                            Adam Aukland-Peck (pro hac vice pending)
                                            Megan McGuiggan (pro hac vice forthcoming)
                                            DEBEVOISE & PLIMPTON LLP
                                            919 Third Ave.
                                            New York, NY 10022
                                            Tel.: 212-909-6000
                                            srselden@debevoise.com
                                            aauklandpeck@debevoise.com
                                            mmcguiggan@debevoise.com

                                            Molly Megan (pro hac vice pending)
                                            Jessica Morris (pro hac vice forthcoming
                                            AMERICAN COLLEGE OF OBSTETRICIANS &
                                            GYNECOLOGISTS
                                            409 12th Street, SW
                                            Washington, DC 20024
                                            mmeegan@acog.org
                                            jmorris@acog.org

                                           Matt W. Sherwood
                                           State Bar No. 24066063
                                           msherwood@mwlawfirm.com
                                           MCCARN & WEIR, P.C.
                                           905 S. Fillmore, Suite 530
                                           Amarillo, Texas 79101
                                           Tel: (806) 350-5395
                                           Fax: (806) 350-5388

                                            Counsel for Amici


                                CERTIFICATE OF SERVICE

          I certify that on February 10, 2023, I electronically filed the foregoing document with
  the Court, using the CM/ECF system. The electronic case filing system will send a notice of
  electronic filing to the attorneys who have consented in writing to accept service by
  electronic means.

                                                         /s/ Matt W. Sherwood
                                                         Matt W. Sherwood




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